843 F.2d 110
    Dr. Ivo JANECKA and Cheryl Janecka, Plaintiffs-Appellants,v.Robert S. FRANKLIN, Esq.;  Samuel G. Fredman, Esq. &amp; Neil A.Fredman, Esq., individually and as officers, employeesand/or agents of Fink, Weinberger, Fredman, Berman &amp; Lowell,P.C.;  and Fink, Weinberger, Fredman, Berman &amp; Lowell, P.C.,a Professional Corporation, organized under the laws of theState of New York, Defendants-Appellees.
    No. 944, Docket 87-7997.
    United States Court of Appeals,Second Circuit.
    Argued March 30, 1988.Decided April 4, 1988.
    
      David A. Goldstein, New York City, for plaintiffs-appellants.
      Lawrence Farkash, New York City (Laufer &amp; Farkash, New York City, on the brief), for defendant-appellee Franklin.
      Robert S. Groban, Jr., New York City (David N. Brockett, Fink, Weinberger, Fredman, Berman &amp; Lowell, P.C., New York City, on the brief), defendants-appellees pro se.
      Before TIMBERS, KEARSE and FRIEDMAN*, Circuit Judges.
      PER CURIAM:
    
    
      1
      Plaintiffs appeal from a final judgment of the United States District Court entered in the Southern District of New York, Leonard B. Sand, Judge, dismissing their complaint seeking damages from defendants for alleged violation of the Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C. Sec. 2510 et seq.  (1982).  The complaint alleged that defendants had violated the Act by causing a recording device to be attached to the home telephone of defendant Robert S. Franklin, the former husband of plaintiff Cheryl Janecka, during the course of a contested child custody proceeding following their divorce.  In an opinion reported at 684 F.Supp. 24 (1987), the district court ruled that the complaint should be dismissed on the authority of Anonymous v. Anonymous, 558 F.2d 677 (2d Cir.1977).  We agree and affirm substantially for the reasons stated in the opinion of the district court.
    
    
      2
      We have considered all of plaintiffs' arguments on the present appeal and have found them to be without merit, though not so lacking in merit that sanctions should be imposed.
    
    
      3
      The judgment of the district court is affirmed.  Defendants' motions for special sanctions are denied.  Normal costs are awarded to defendants.
    
    
      
        *
         United States Circuit Judge of the Court of Appeals for the Federal Circuit, sitting by designation
      
    
    